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                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                     LAKE CHARLES DIVISION


 AMERICAN PETROLEUM INSTITUTE ET                               CASE NO. 2:21-CV-02506
 AL

 VERSUS                                                        JUDGE TERRY A. DOUGHTY

 U S DEPT OF INTERIOR ET AL                                    MAGISTRATE JUDGE KAY

                                        MEMORANDUM ORDER

         Pending before the Court is Conservation Groups’ Statement of Appeal of Magistrate

 Judge’s Denial of Motion to Intervene [Doc. No. 89]. The Conservation Groups appeal

 Magistrate Judge Kathleen Kay’s April 29, 2022, Memorandum Order denying the Conservation

 Groups’1 Motion to Intervene under Fed. R. Civ. Pro. 24(a) or (b) [Doc. No. 88].

         A magistrate judge’s non-dispositive pretrial order is reviewable under the clearly

 erroneous and contrary to law standard. 28 U.S.C. § 636(b)(1)(A); Fed. R. Civ. P. 72(a).

 Following a review of the record, the Court finds that the Magistrate Judge’s Memorandum

 Order is neither clearly erroneous nor contrary to the law.2 Accordingly,

         IT IS ORDERED that the Conservation Groups’ Appeal [Doc. No. 89] is DENIED, and

 Magistrate Judge Kay’s Memorandum Order [Doc. No. 88] is hereby AFFIRMED.

         MONROE, LOUISIANA, this 2nd day of June 2022.




                                                                           Terry A. Doughty
                                                                      United States District Judge


 1
   Healthy Gulf, Center for Biological Diversity, Citizens for a Healthy Community, Cook Inletkeeper, Defenders of
 Wildlife, Food & Water Watch, Friends of the Earth, Great Old Broads for Wilderness, Montana Environmental
 Information Center, Oceana, Sierra Club, The Wilderness Society, Valley Organic Growers Association, Western
 Organization of Resource Councils, Western Watersheds Project, and WildEarth Guardians.
 2
   Even if the Court were to apply the de novo review standard, the Court would reach the same decision.
